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  1                                                    DENIED
  2                                     BY ORDER OF THE COURT
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                           UNITED STATES DISTRICT COURT
  9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11    Edwardo Munoz, individually and on
      behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
12
                                Plaintiff,
13                                                [PROPOSED] ORDER GRANTING
            v.                                    JOINT STIPULATION FOR AN
14                                                EXTENSION OF ALL REMAINING
      7-Eleven, Inc., a Texas corporation,        DEADLINES
15
                                Defendant.             Judge: Hon. R. Gary Klausner
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17                                                 Complaint Filed: May 9, 2018
                                                   Trial Date: July 2, 2019
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      [PROPOSED] ORDER GRANTING JOINT
      STIPULATION FOR AN EXTENSION               -1-
      OF ALL REMAINING DEADLINES
Case 2:18-cv-03893-RGK-AGR Document 53 Filed 02/22/19 Page 2 of 2 Page ID #:319



  1         Pursuant to the Parties’ Joint Stipulation for an Extension of All Remaining
  2   Deadlines, and good cause appearing, it is hereby Ordered:
  3         1.    That all remaining deadlines be extended by 30 days, as follows:
  4               a. Discovery Cut Off Date: May 3, 2019;
  5               b. Motion Cut Off Date: May 17, 2019;
  6               c. Pretrial Conference: July 17, 2019; and
  7               d. Jury Trial (Est. 3 days): August 15, 2019 at 9:00 a.m.
  8   THE STIPULATION IS DENIED.
  9   IT IS SO ORDERED.
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12    Dated: February 22, 2019
                                                    Hon. R. Gary Klausner
13                                                  United States District Judge
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      [PROPOSED] ORDER GRANTING JOINT
      STIPULATION FOR AN EXTENSION            -2-
      OF ALL REMAINING DEADLINES
